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NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

    ________________________________________
                                            :
    UNITED STATES,                          :                 Criminal Case No. 13-29
                                            :                 (FSH)
                v.                          :
                                            :                 OPINION
    MARTIN TREJO,                           :
                                            :                 September 29, 2014
                        Defendant.          :
    ________________________________________:



HOCHBERG, District Judge:

       After a one-week trial, a unanimous jury found the Defendant Martin Trejo guilty of

transporting stolen property in interstate commerce in violation of 18 U.S.C. § 2314 and

unlawful conspiracy in violation of 18 U.S.C. § 371. On September 17, 2014, the Defendant

appeared before the Court for a sentencing hearing and received a sentence of 26 months.

Because there is a substantial dispute between the Government and the Defendant regarding the

calculation of the dollar value attributed to the crimes, the Court files this explanation of its

determination of value.


                                      I.     BACKGROUND


       From 1998 until his arrest in July 2012, the Defendant worked as a contractor for the

United States Citizenship and Immigration Services (USCIS) at the Western Forms Center in



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California. The Center houses certain immigration forms, including Form I-797 Notice of

Action. USCIS uses Form I-797 to communicate an immigration benefit to applicants and other

agencies; particularly relevant in the instant case, state Departments of Motor Vehicles use it to

verify a person’s lawful presence in the United States. Starting in 2007, the Defendant stole

blank Forms I-797 from USCIS and sold them to an intermediary, Karine Michmichian. On five

occasions between 2007 and 2012, the Defendant sold batches of the forms—200 to 300 at a

time—to the intermediary for resale. He was paid about $1,000 for each batch. He understood

that the forms, which he was tasked with safeguarding, were Government immigration

documents that the general public was not permitted to access. After transferring the forms, the

Defendant had no further involvement. He did not know the identity of Michmichian’s buyer.

Nor was he aware of the buyer’s particular purpose for the forms: that the stolen Forms I-797

were a significant component of a package of documents and services sold by a group of

conspirators to fraudulently procure genuine driver’s licenses for illegal aliens.


       Once Michmichian received the forms, she marked up the price—to between $2,000 and

$3,000 per batch—and resold the forms to a group of individuals led by Young-Kyu Park. 1 The

blank forms were sent via Federal Express to members of the Park conspiracy in other states,

including New Jersey. Park and his associates filled in the blank Forms I-797 with illegal aliens’

personal information and inserted a false immigration status. Park then recorded a genuine



1
 In 2013, Park was convicted of, among other things, conspiracy to produce false identification
documents.



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receipt number—called an EAC number—on the illegal aliens’ forms, which number

corresponded to a different person who was granted a valid immigration status. Members of the

Park conspiracy were able to obtain dozens of EAC numbers on the USCIS website and

determine which numbers were valid and which were not.2 As additional proof of identification,

Park generated false bank statements using photo editing software. After completing the forms, a

member of the Park conspiracy would accompany each illegal alien to a state Department of

Motor Vehicles and guide them through the process of procuring a fraudulent—but genuine—

driver’s license. As a fee for this service, customers paid Park between $2,500 and $4,000. The

process required one Form I-797 for each customer.


       After an investigation by the FBI, on June 20, 2012 the Defendant was arrested and

charged with stealing immigration forms from the Government. During post-arrest questioning

by FBI agent Nathan Kim, the Defendant confessed that he had stolen batches of Forms I-797 on

five occasions between 2007 and 2012, and had sold the forms to the intermediary Michmichian

in exchange for about $1,000 per batch. The superseding indictment charged the Defendant with

two counts. Count Five alleged a dual-object conspiracy in violation of 18 U.S.C. § 371, with the

unlawful objects of the conspiracy including the theft of government property in violation of 18

U.S.C. § 641 and the transportation of stolen property in interstate commerce. It alleged that the

Defendant conspired with Michmichian, Young-Kyu Park, and others, to steal government


2
  At trial, a witness for the Government testified that state DMV offices were only able to verify
that any EAC number was valid, not the identity of the person assigned the particular EAC
number. This security hole has now been rectified, according to the Government.



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immigration forms and transmit them to various states. Count Six alleged that the Defendant

violated 18 U.S.C. § 2314 by transporting stolen property in interstate commerce, to wit: batches

of Forms I-797. Trial began on January 17, 2014, and the jury found the Defendant guilty on

January 23, 2014.


                               II.     THE PRESENTENCE REPORT


       On May 20, 2014, the Court and the parties discussed the scope of the Defendant’s

agreement to undertake illegal conduct and the number of transactions attributable to him. After

that hearing, a revised presentence report was prepared and delivered to the Court on June 13,

2014. The Probation Officer calculated a criminal history category of I, a base offense level of 6,

a 2 level enhancement for abuse of a position of trust, a 2 level enhancement for the value of the

loss, and an advisory guideline imprisonment range of 6 - 12 months. The Defendant raised no

objections to the Presentence Report. The Government objected to the Probation Officer’s

calculation of the value of the stolen property at issue, or alternatively, moved for an upward

variance based on the seriousness of the conduct and the need for general deterrence.




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                                           III.    DISCUSSION


(a)      The Process for Determining a Sentence


         Post- Booker,3 a court is to follow a three step process in fashioning an appropriate

sentence for a defendant:


          (1) Courts must continue to calculate a defendant’s Guidelines sentence precisely
         as they would have before Booker[;] (2) [i]n doing so, they must formally rule on
         the motions of both parties and state on the record whether they are granting a
         departure and how that departure affects the Guidelines calculation, and take into
         account our Circuit’s pre-Booker case law, which continues to have advisory
         force[;] [and] (3) [f]inally, they are required to exercise their discretion by
         considering the relevant [18 U.S.C.] § 3553(a) factors in setting the sentence they
         impose regardless whether it varies from the sentence calculated under the
         Guidelines.

         United States v. Lofink, 564 F.3d 232, 237-38 (3d Cir. 2009) (quoting United
         States v. Gunter, 462 F.3d 237, 247 (3d Cir. 2006)).

This Court will consider each of these steps in turn. In so doing, the Court will make findings as

to disputed facts based on a preponderance of the evidence standard. United States v. Grier, 475

F.3d 556, 568 (3d Cir. 2007) (en banc). The government bears the burden to prove the facts

triggering a sentence enhancement. United States v. Napier, 273 F.3d 276, 279 (3d Cir. 2001).


(b)      Guidelines Calculation


         The Government objects to the Probation Officer’s loss calculation based on the market

value the intermediary Michmichian received for the forms, arguing that the proper value of the


3
    United States v. Booker, 543 U.S. 220, 246 (2005).



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forms is significantly higher. It asserts that: (1) the Defendant jointly undertook criminal activity

with the Park conspiracy—which charged $2,500 to $4,000 per customer for a fraudulent

license—allegedly resulting in a loss value of at least $2,500 per stolen form; or (2) the intrinsic

market value of each blank Form I-797 is purportedly equivalent to the amount the conspiracy

charged each customer to procure an illegal driver’s license.


       1. Scope Of Defendant’s Jointly Undertaken Activity With The Park Conspiracy


       In some circumstances, a defendant is accountable for the acts of others who are engaged

in a jointly undertaken activity with the defendant. U.S.S.G. § 1B1.3(a)(1)(B); see United States

v. Gricco, 277 F.3d 339, 356 (3d Cir. 2002). Specifically, the other individual’s act must be: “(1)

in furtherance of the jointly undertaken activity; (2) within the scope of the defendant’s

agreement; and (3) reasonably foreseeable in connection with the criminal activity the defendant

agreed to undertake.” United States v. Robinson, 603 F.3d 230, 233 (3d Cir. 2010) (internal

quotation marks omitted). “A ‘jointly undertaken criminal activity’ is a criminal plan, scheme,

endeavor, or enterprise undertaken by the defendant in concert with others, whether or not

charged as a conspiracy.” U.S.S.G. § 1B1.3 cmt. n.2.


       A comment to the Guidelines explains the analysis of the scope of a defendant’s

agreement:


       Because a count may be worded broadly and include the conduct of many
       participants over a period of time, the scope of the criminal activity jointly
       undertaken by the defendant (the “jointly undertaken criminal activity”) is not
       necessarily the same as the scope of the entire conspiracy, and hence relevant



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       conduct is not necessarily the same for every participant. In order to determine
       the defendant’s accountability for the conduct of others under subsection
       (a)(1)(B), the court must first determine the scope of the criminal activity the
       particular defendant agreed to jointly undertake (i.e., the scope of the specific
       conduct and objectives embraced by the defendant’s agreement). The conduct of
       others that was both in furtherance of, and reasonably foreseeable in connection
       with, the criminal activity jointly undertaken by the defendant is relevant
       conduct under this provision. The conduct of others that was not in furtherance
       of the criminal activity jointly undertaken by the defendant, or was not
       reasonably foreseeable in connection with that criminal activity, is not relevant
       conduct under this provision.

       U.S.S.G. § 1B1.3 cmt. n.2.

 Accordingly, “whether an individual defendant may be held accountable for amounts of

[contraband] involved in reasonably foreseeable transactions conducted by co-conspirators

depends upon the degree of the defendant’s involvement in the conspiracy.” United States v.

Collado, 975 F.2d 985, 994 (3d Cir. 1992).


       Assessing the degree of the Defendant’s involvement in the Park conspiracy, the Court

first looks at the scope of the Defendant’s agreement and finds that the fraudulent driver’s-

license scheme was not within “the scope of the specific conduct and objectives embraced by the

defendant’s agreement.” See U.S.S.G. § 1B1.3, cmt. n.2. The Defendant was charged with—and

convicted of—a conspiracy to steal Government forms and sell them in interstate commerce.

Ample evidence established that the scope of Defendant’s agreement included stealing Forms I-

797 and transmitting them to an intermediary for resale. But the Government acknowledges that

there is no evidence that the Defendant knew Park, nor interacted with him in any way, nor knew

that the stolen forms would be used by Park and an entirely different set of conspirators charged




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in a separate conspiracy to fraudulently procure genuine driver’s licenses. Thus, the procurement

of fraudulent licenses was not within the scope of the Defendant’s illegal agreement, nor was it

in furtherance of his illegal agreement with the intermediary to provide blank Forms I-797.

These blank forms can be used to convey multiple forms of agency action, and thus one could

not infer that the sale of these blanks forms would be tacitly understood to be for the driver’s-

license scheme. In sum, the Park driver’s-license conspiracy’s acts of filling in these blank forms

as part of its criminal package of services to procure fraudulent licenses was not in furtherance of

the scope of the agreement entered into by Defendant Trejo. Rather, the Defendant’s agreement

with the intermediary was to steal and resell forms. See United States v. Mannino, 212 F.3d 835,

841-42 (3d Cir. 2000) (reversing sentence that imputed co-conspirators’ conduct to defendant as

jointly undertaken activity and remanding for additional findings regarding the scope of

defendant’s agreement); U.S.S.G. § 1B1.3 cmt., illustration (c)(1). Thus, a loss value based on

the price that the ultimate customers paid the Park conspiracy for the complete package of

services, which permitted them to procure a fraudulent license, is not fairly attributed to

Defendant Trejo because it was not within the scope of his criminal agreement.4 See United


4
  The Government responds that “the value realized by Park as part of the broader criminal
enterprise . . . was reasonably foreseeable to defendant.” However, no evidence was adduced to
suggest the foreseeability of this form of use. Moreover, even if the fee Park charged customers
to procure a fraudulent license was reasonably foreseeable to the Defendant, he is nevertheless
accountable only for acts within the scope of his agreement. United States v. Collado, 975 F.2d
985, 991 (3d Cir. 1992) (finding that the standard for assessing whether an act is within the scope
of a defendant’s agreement is “significantly more stringent” than the analysis of whether the act
was in furtherance of the conspiracy and reasonably foreseeable); United States v. Cabrera-Baez,
24 F.3d 283, 288 (D.C. Cir. 1994) (“Mere foreseeability is not enough.”).




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States v. Ekanem, 555 F.3d 172, 176 (5th Cir. 2009) (holding that the defendant’s awareness that

a conspirator in one fraudulent Medicare scheme was operating a second fraudulent Medicare

scheme was insufficient to find a jointly undertaken criminal activity with respect to the second

scheme); cf. United States v. Robinson, 603 F.3d at 234 (inferring jointly undertaken criminal

activity between defendant and another fraudulent check-casher because defendant engaged in

fraudulent activity with the check-casher on two occasions).


       2. Intrinsic Value Of Form I-797


       The Government next asserts that the Defendant is accountable for the price each

customer of the driver’s-license scheme paid the Park conspiracy based on the intrinsic value of

each form. Pursuant to the Sentencing Guidelines, the Court calculates the “loss” caused by

Defendant as “[t]he fair market value of the property unlawfully taken . . . .” U.S.S.G. § 2B1.1

cmt. n.3. Market value “will be determined by market forces the price at which the minds of a

willing buyer and a willing seller would meet. If no commercial market for particular contraband

exists, value may be established by reference to a thieves’ market.” United States v. DiGilio, 538

F.2d 972, 979 (3d Cir. 1976) (internal quotation marks and citations omitted).


       The Government argues that members of the Park conspiracy believed that Form I-797

was the “most important item” in the scheme to produce fraudulent licenses and, therefore, the

price each customer paid for a license—$2,500 to $4,000—purportedly reflects the intrinsic

market value of a single form. Thus, it contends that United States v. Moore, 571 F.2d 154, 156




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 (3d Cir. 1978), compels finding that the proper fair market value calculation is the price each

 customer paid multiplied by the total number of forms stolen by the Defendant. In Moore, the

 defendants transported stolen property—blank concert tickets—in interstate commerce, filled in

 the tickets, and then sold them to customers. Id. at 155. The Third Circuit found that the

 defendants “may have increased the value of the Ticketron blanks by their counterfeiting efforts,

 [but] did not by their actions so substantially alter the stolen blanks as to render the transported

 counterfeit tickets essentially different from what was stolen, within the meaning of § 2314.” Id.

 at 157. Rather, the blank tickets were “so uniquely and intrinsically an essential element of, and

 an essential ingredient in, the defendants’ unlawful activity, that the final value of the transported

 property (the counterfeit tickets) must necessarily be attributed in large part to the stolen

 blanks.”5 Id. However, the Court “express[ed] no opinion as to whether other fraudulent

 transactions, when tested by the above standard, may fall within or without the value requirement

 of § 2314.” Id. at 157.


        Here, members of the Park driver’s-license conspiracy sold a service to illegal aliens:

 guiding each customer through the process of illegally procuring a genuine driver’s license. That

 final product is several steps removed from the stolen property, and includes many items of real

 added value beyond the blank forms. After receiving a blank Form I-797, Park and his associates

 collected customer information; procured false bank account statements on behalf of these



 5
  The issue of whether a defendant could be held accountable for value added to stolen property
 after it had been transferred from the defendant’s possession was not before the Court.



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 customers using photo editing software; fraudulently generated valid EAC numbers that

 corresponded to a person with a valid immigration status; and input all the information into the

 form. A member of the conspiracy then accompanied the customer—many of whom did not

 speak English—to a DMV to procure a driver’s license using the Form I-797 and additional

 points of identification. Customers paid the $2,500 to $4,000 fee for the package of services.

 While the Form I-797 was an important part of the package, no evidence was adduced as to its

 value alone, disaggregated from the value of all the other parts of the package. Unlike in Moore,

 where the customers paid for filled-in versions of the stolen blank tickets, the customers here

 paid Park for more than just a filled-in Form I-797. Thus, the price does not merely reflect the

 intrinsic potential of the stolen property, nor can it “necessarily be attributed in large part to the

 stolen blanks.” Moore, 571 F.2d at 157. This is particularly true where the blank government

 forms in this case have many potential uses beyond the driver’s-license scheme, by contrast to

 concert ticket blanks, and no foreseeability of this particular use was shown by the evidence.

 While the form was a necessary part of the package needed to procure a driver’s license, it was

 far from sufficient to obtain one, as all of the other documents and steps above indicate.


         The only remaining measure of value is the price that the intermediary Michmichian

 received for each transaction on the thieves’ market. The testimony at trial was that Michmichian

 received “between [$2,000] and $3,000” for each transaction. As stated at the sentencing

 hearing, the Court adopts the Presentence Report’s factual finding that the Defendant confessed




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 to five transactions from 2007 to 2012.6 (Presentence Report ¶¶ 15, 17). Thus, the combined

 value of all five transactions is greater than $10,000 but less than $15,000, corresponding to a 4

 level enhancement for stolen property valued at more than $10,000.7 U.S.S.G. § 2B1.1(b)(1)(C).

 The Court also adopts the findings of the Presentence Report with respect to an enhancement for

 Defendant’s abuse of a position of trust pursuant to U.S.S.G. § 3B1.3. Accordingly, the

 Defendant’s total offender level is 12 and his criminal history category is I, resulting in a

 guideline range of imprisonment of 10-16 months.


 (c)    Variance


        The final step in determining a defendant’s sentence is for the Court to consider the

 factors in 18 U.S.C. § 3553(a) based on the specific circumstances of the case and the defendant,




 6
   FBI Agent Nathan Kim testified that the Defendant admitted to stealing forms and selling them
 to Michmichian in 2007, 2008, 2010, December 2011, and February 2012, consisting of about
 200 forms per transaction. The Defendant did not object to this finding in the Presentence
 Report. The superseding indictment charged the Defendant with the transactions in 2010, 2011,
 and 2012.
 7
   The Court includes the Defendant’s uncharged conduct in its analysis of total loss because the
 Defendant’s 2007 and 2008 transactions are part of the same overarching common scheme—
 involving the same type of stolen property, delivered to the same intermediary, in the same
 quantity, for the same price, and for the same purpose—as the charged conspiracy to steal and
 sell immigration forms. See U.S.S.G. § 1B1.3(a)(2), §1B1.3 cmt n.9(A). “[C]onduct that is not
 formally charged or is not an element of the offense of conviction may enter into the
 determination of the applicable guideline sentencing range.” United States v. Rudolph, 137 F.3d
 173, 177 (3d Cir. 1998) (quoting U.S.S.G. § 1B1.3).




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 imposing no greater sentence than the maximum statutory penalties provided for the offense.8

 The Court must give “rational and meaningful consideration of the factors enumerated in 18


 8
     Section 3553(a) requires consideration of the following factors:

           (1) the nature and circumstances of the offense and the history and characteristics
               of the defendant;

           (2) the need for the sentence imposed

                  (A) to reflect the seriousness of the offense, to promote respect for the
                       law, and to provide just punishment for the offense;

                  (B) to afford adequate deterrence to criminal conduct;

                  (C) to protect the public from further crimes of the defendant; and

                  (D) to provide the defendant with needed educational or vocational
                       training, medical care, or other correctional treatment in the most
                       effective manner;

           (3) the kinds of sentences available;

           (4) the kinds of sentence and the sentencing range established for

                  (A) the applicable category of offense committed by the applicable
                       category of defendant as set forth in the guidelines

                          (i) issued by the Sentencing Commission . . . , subject to any
                              amendments made to such guidelines by act of Congress . . . ;
                              and

                          (ii) that, except as provided in section 3742(g), are in effect on the
                              date the defendant is sentenced; . . .

           (5) any pertinent policy statement

                  (A) issued by the Sentencing Commission . . . , subject to any amendments
                       made to such policy statement by act of Congress . . . ; and




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 U.S.C. § 3553(a)” and make an “individualized assessment based on the facts presented.” United

 States v. Tomko, 562 F.3d 558, 567-68 (3d Cir. 2009) (en banc) (internal quotation marks

 omitted). In considering the § 3553(a) factors, a court need not recite each and every factor, as

 long as it is clear that they were considered. Rita v. United States, 551 U.S. 338 (2007).


        After balancing the § 3553(a) factors, the Court finds that a guideline sentence of 10 - 16

 months for this Defendant to be seriously inadequate to impose a sentence that is “sufficient, but

 not greater than necessary” to accomplish the goals of sentencing. 18 U.S.C. § 3553(a). Rather, it

 is necessary to go outside the guideline range and increase the Defendant’s sentence by 10

 months to a sentence of 26 months of imprisonment in order to justly meet the criteria of §

 3553(a).


        This Court has seriously considered each and every one of the § 3553 factors and will

 discuss in detail those factors that weigh heavily in favor of this Court’s decision to sentence

 Defendant Trejo above the Guidelines range.9




                (B) that, except as provided in section 3742(g), is in effect on the date the
                     defendant is sentenced[;]

        (6) the need to avoid unwarranted sentence disparities among defendants with
            similar records who have been found guilty of similar conduct; and

        (7) the need to provide restitution to any victims of the offense.
 9
  The Court finds there are no mitigating factors that would justify varying downward on
 Defendant’s sentence, and no such motion has been made by Defendant.




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        1.        Factors Weighing In Favor of Sentence Above Guidelines Range


        The first § 3553(a) factor requires this Court to consider “the nature and circumstances of

 the offense.” As this Court discussed at the sentencing hearing, Defendant’s crime was

 extraordinarily reckless. He stole protected Government forms that he knew the public was

 prohibited from accessing—in fact, part of his job as a material handler was to keep these forms

 from falling into the wrong hands. He sold these forms to an individual who was not permitted to

 have them—and whom he knew planned to resell the forms—without any concern for who might

 thereby gain access to blank government immigration forms or what someone might do with

 them. Moreover, the Defendant knew the nature of the forms: that they were used to convey

 immigration information. In selling Forms I-797, he knowingly exposed the community to grave

 risks from those who might use fraudulent immigration documents for illegal purposes. The

 Defendant’s only reason for committing this serious crime, and jeopardizing the integrity of

 immigration enforcement, was greed. The circumstances of this offense demonstrate the

 Defendant’s reckless disregard for the potential and actual consequences of his crime. His theft

 of forms was not an isolated incident attributable to a momentary lapse in judgment. Rather, it

 was a series of calculated thefts over a four-year period solely for Defendant’s financial benefit.

 Although the Defendant has expressed his regret for these actions and has stated his commitment

 to improving himself for his family, these considerations are outweighed by the need to impose a

 sentence of imprisonment that demonstrates the serious consequences of the Defendant’s

 reckless acts.




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        The Court also emphasizes “the need for the sentence imposed,” § 3553(a), including the

 need for the sentence “to reflect the seriousness of the offense, . . . and to provide just

 punishment for the offense,” § 3553(a)(2)(A). The theft and sale of even a single Form I-797 is a

 serious crime because of what a person with unauthorized access can communicate—falsely—

 about anyone’s immigration status or identity. The threat posed by those who illegally traffic in

 protected Government forms is severely understated by the Guideline range of 10 - 16 months,

 which was calculated based on the value of the stolen property. This crime is serious not because

 the forms fetch a certain price on the black market, but because the sale of forms undermines the

 security of the community and the Government’s ability to enforce immigration laws. As such, it

 poses a far greater risk than most crimes related to transporting stolen property. There is no

 question that the Defendant’s conduct created a serious security risk to the public, and in light of

 all the facts and circumstances, a just punishment must include a significant period of

 incarceration.


        The Court also focuses on the need “to afford adequate deterrence to criminal conduct,” §

 3553(a)(2)(B). Slightly more than one year of imprisonment, as recommended by the Guidelines,

 is insufficient to generally deter Government employees and contractors who—like the

 Defendant—are motivated by greed and willing to abuse their access to protected Government

 assets for a price. The Court finds that there is a need for community members to recognize that

 this crime is taken seriously and for Government employees to understand that the consequence

 of the theft of Government documents includes a significant term of imprisonment.




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        2. Totality Of The § 3553(a) Factors


        As the Court stated at the September 17, 2014, sentencing hearing, incarceration of the

 Defendant for 26 months is required to justly punish the Defendant, to deter similar conduct, to

 demonstrate the severity of the crime, and based on the nature of the crime. For this reason, the

 Court finds that the particular circumstances of this case require a sentence of 26 months of

 imprisonment. This is justified by the need to impose a sentence that is “sufficient, but not

 greater than necessary,” 18 U.S.C. § 3553.


                                            IV. CONCLUSION


        Accordingly, Defendant Martin Trejo is sentenced to 26 months of incarceration, together

 with such other terms and conditions as were stated orally at the sentencing hearing on

 September 17, 2014. This Opinion regarding sentencing shall be attached to and incorporated by

 reference, in its entirety, into the Statement of Reasons and Judgment in this case.




                                                       s/ Faith S. Hochberg

                                                       Hon. Faith S. Hochberg, U.S.D.J.




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